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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    DONNA CURLING, et al.,                     :
                                               :
         Plaintiffs,                           :
                                               :
    v.                                         :           CIVIL ACTION NO.
                                               :           1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,                :
                                               :
         Defendants.                           :

                                   AMENDED ORDER

         The Court’s Opinion and Order of September 28, 2020 granting the

Coalition Plaintiffs’ motion for a preliminary injunction regarding paper pollbook

backups, (Order, Doc. 918), is hereby AMENDED as follows.

         UNTIL FURTHER ORDER OF THIS COURT:

         Effective immediately for each scheduled primary, general, and runoff

election, the Secretary of State IS ORDERED generate and transmit to each

county election superintendent at the close of absentee in-person early voting an

updated electors list in a format capable of printing by the election superintendent

that includes all of the information located in the electronic pollbook necessary for

printing precinct-level information required in each polling place to check in voters

and issue ballots to eligible voters (referred to as the “updated paper pollbook

backup”). 1    The Secretary of State shall further direct every county election


1Consistent with O.C.G.A. § 21-2-224(b) and State Election Board Rule 183-1-12-.19(8), this list
must include accurate information regarding all persons who have been issued or cast absentee
ballots during the advanced/early voting period prior to election day. See O.C.G.A. § 21-2-224(b)
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superintendent (1) to print and provide at each polling place at least one paper

backup of the pollbook for use on Election Day, which paper backup shall be

updated after the close of absentee in-person voting (early voting); (2) to use the

updated paper pollbook backup in the polling place to attempt to adjudicate voter

eligibility and precinct assignment in the event of equipment malfunction or an

emergency as defined by Ga. R. & R. 183-1-12.11(2)(d); 2 (3) to allow voters who are

shown to be eligible electors on the paper pollbook backup who are not shown as

having requested an absentee mail-in ballot to cast a regular or emergency ballot

that is not to be treated as a provisional ballot; (4) to allow voters who are shown

to be eligible electors on the paper pollbook backup but who are shown as having

requested an absentee mail-in ballot to have their absentee ballot canceled and to

cast a regular or emergency ballot that is not to be treated as a provisional ballot,

provided that such voter’s eligibility is confirmed by the county registrar’s office

and the voter’s absentee ballot is canceled in accordance with the provisions of




(“The registrars shall, prior to the hour appointed for opening the polls, place in the possession of
the managers in each precinct one copy of the certified electors list for such precinct, such list to
contain all the information required by law. The list shall indicate the name of any elector who
has been mailed or delivered an absentee ballot.”); Ga. Comp. R. & Regs. 183-1-12-.19(8) (“Prior
to delivery to a polling place, the election superintendent or registrars shall cause the electronic
poll books to accurately mark all persons who have been issued or cast absentee ballots in the
election.”). The Secretary may generate this information directly from the PollPads or from ENET
and the Absentee Voter Report referenced in their filing at Doc. 895. Alternatively, the Secretary
may assume responsibility at its discretion for the printing and delivery of the updated paper
pollbook to county election superintendents.
2 The State Election Board’s Emergency Rule, Ga. R. & R. 183-1-12.11(2)(d), defines the types of

events that may be considered emergencies as “power outages, malfunctions causing a sufficient
number of electronic ballot markers to be unavailable for use, or waiting times longer than 30
minutes.”

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O.C.G.A. § 21-2-388; 3 (5) to take every reasonable measure to ensure that county

election officials and poll workers are trained as to how to generate and use paper

pollbook backups and emergency ballots and handle the casting and counting of

emergency votes in conformity with this Order directly as emergency ballots, if

necessary; and (6) maintain a sufficient stock of emergency paper ballots in

compliance with Ga. Comp. R. & Regs. 183-1-12-.11(2)(c) and 183-1-12-.01. 4

       While the Court has ordered that a minimum of one paper pollbook backup

should be made available for each polling place, it is likely that more than one copy

would be needed in large precincts per the testimony of Fulton County’s Director

of County Registration and Elections. As precincts vary in size enormously across

the counties and the State, the Court FURTHER ORDERS that the Secretary of

State direct all local election superintendents to evaluate the need for issuance of

additional copies of the pollbook backup printouts as back-up tools for precincts


3 See O.C.G.A. § 21-2-388 (providing for cancellation of absentee ballots and permitting voters to
cast votes in person upon cancellation by either surrendering their absentee ballot to the poll
manager of the precinct or in the case of a voter who has requested but not yet received their
absentee ballot by completing an elector’s oath affirming the voter has not marked or mailed an
absentee ballot for voting in such primary or election); See O.C.G.A. § 21-2-384 (regarding
elector’s oath); see also Ga. Comp. R. & Regs. 183-1-14-.06 (regarding procedures for spoiled
absentee ballots).
4 This relief is consistent with State Election Board Rule 183-1-12-.19(1) that requires that election

superintendents equip each polling place with the electronic pollbooks, a paper backup list, and
ensure that “poll workers [] be adequately trained in checking in voters on both electronic poll
books and paper backup list.” Ga. Comp. R. & Regs. 183-1-12-.19(1); see also Ga. Comp. R. & Regs.
183-1-12-.11(2)(c) (providing that the “election superintendent shall cause each polling place to
have a sufficient amount of emergency paper ballots so that voting may continue uninterrupted if
emergency circumstances render the electronic ballot markers or printers unusable. For any
primary or general election for which a state or federal candidate is on the ballot, a sufficient
amount of emergency paper ballots shall be at least 10% of the number of registered voters to a
polling place”). County election superintendents shall determine what is a “sufficient number” of
emergency paper ballots necessary at individual polling locations, which number may exceed 10%
of the number of registered voters at the polling place as needed.

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based on the number of registered voters in each county precinct or polling

location and to promptly advise the County Registrar’s Office of the number of such

additional copies needed.

      IT IS SO ORDERED this 12th day of October, 2020.



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                                      Amy Totenberg
                                      United States District Judge




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